
443 So.2d 424 (1984)
W.P.J., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 83-1420.
District Court of Appeal of Florida, Second District.
January 4, 1984.
Jerry Hill, Public Defender, Bartow, and Deborah K. Brueckheimer, Asst. Public Defender, Clearwater, for appellant.
Jim Smith, Atty. Gen., Tallahassee, and Robert J. Landry, Asst. Atty. Gen., Tampa, for appellee.
PER CURIAM.
W.P.J., an eighteen year old child, appeals his adjudication of delinquency for five counts of criminal mischief. Following adjudication, appellant was committed to the Department of Health and Rehabilitative Services and ordered to pay restitution in an amount not to exceed $200 prior to his release.
We affirm the adjudication of delinquency. However, the trial court erred in imposing restitution because appellant was not placed in a community control program. A penalty in the nature of restitution may be imposed, but only if the child has been placed in a community control program. § 39.11, Fla. Stat. (1981); M.V.D. v. State, 414 So.2d 599 (Fla. 1st DCA 1982).
Accordingly, this cause is remanded to the trial court to strike that portion of the commitment order imposing restitution. In all other respects, the order is affirmed.
GRIMES, A.C.J., and SCHEB and LEHAN, JJ., concur.
